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IN THE UNITED sTATEs DISTRICT coURT -- -L-
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PHILIP E. BOYNTON, et al.,
Plaintiffs,

v. No. 02-1111 Ml/An

HEADWATERS, INC. et al.,

Defendants.

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ORDER DENYING DEFENDANT HEADWATERS’ MOTION TO DISMISS FOR LACK OF
SUBJECT MATTER JURISDICTION

 

Before the Court is Defendant Headwaters’ Motion to Dismiss
for Lack of Subject Matter Jurisdiction, filed June 24, 2005.
Plaintiffs responded in opposition on July 26, 2005. Defendant
filed a reply on August 3, 2005. For the following reasons,
Defendant's motion is DENIED.

I. BACKGROUND

The present action started as a separate lawsuit brought in
the Western District of Tennessee, Eastern Division, styled
Adtech, Inc. of Illinois V. James G. Davison, et al., Case No.
00-1244. In that case, three of the named Plaintiffs in the
current action brought a lawsuit on behalf of the corporate
entity, Adtech, Inc. ("Adtech") against Defendants James G.

Davidson and Covol Technologies, Inc. ("Covol").l The

 

1 Covol Teohnologies is now known as "Headwaters.

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individuals alleged that Mr. Davidson had unlawfully sold the
rights to U.S. Pat. No. 5,238,629 (the "‘629 patent") without
corporate authorization. Adtech v. Davidson, Case No. 00-1244,
Order Granting Defs.' Mot.’s to Dismiss at 2-3 (W.D. Tenn. Aug.
28, 2001). In an Order entered on August 28, 2001, the Honorable
James D. Todd dismissed that action for lack of subject matter
jurisdiction. ld. at 8. The court held that Adtech never owned
the ‘629 patent, and consequently, did not have standing to
assert ownership rights to the patent.2 To correct the
jurisdictional deficiency, Plaintiffs re-instated their action in
their individual capacity as investors. It is this second
lawsuit that is the subject of the pending motion.

On October 8, 2002, the Court denied the motion to dismiss
this action for lack of subject matter jurisdiction of Defendants
Davidson and former Defendant Hoover. (See Order Denying Defs.'
Mot. to Dismiss, Oct. 8, 2002 {Docket No. 36).) In that order,

the Court noted that Plaintiffs had alleged that "as investors in

 

2In that case, Judge Todd found that there were two separate
corporations with the name Adtech, Inc., of Illinois. The first
was incorporated on November 27, 1987, and dissolved by the
Illinois Secretary of State on April l, 1991. Adtech v. Davidson,
Case No. 00-1244, Order Granting Defs.' Mot.'s to Dismiss at 2-3
(W.D. Tenn. Aug. 28, 2001). Thus, the Court held that a
purported assignment of the ‘629 patent to the first Adtech,
executed on July 29, 1991, was of no effect because the
corporation had been dissolved. (ld. at 8.) The second Adtech
was incorporated on May 14, 1998. (;Q. at 4.) The Court
concluded that the individual affiants were not officers,
directors or shareholders of the second Adtech at the time the
patent was sold, and thus could not authorize a suit on behalf of
the Second Adtech. (Id. at 5.)

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the venture to develop and commercialize the patent, their
interest is individual, as beneficiaries of a resulting or
constructive trust, or as an unincorporated association or
partnership" and found that, at that stage of the proceedings,
Plaintiffs did not lack standing to bring their claims. (Id. at
4.) On January l3, 2004, the Court granted in part and denied in
part the motion for summary judgment of Defendant Headwaters.
(See Jan. 13, 2004, Order (Docket No. lll).) In particular, the
Court denied Defendant’s motion for summary judgment regarding
Plaintiff’s claims for the imposition of a constructive trust and
for civil conspiracy. (Id.) The deadline for filing dispositive
motions has now passed, and this case is currently set for trial
on September 6, 2005.

II. STANDARD OF REVIEW

Federal Rule of Civil Procedure lZ(b)(l) allows a party to
move to dismiss a claim for lack of subject matter jurisdiction.
Fed. R. Civ. P. lZ(b)(l). “A Rule lZ(b}(l) motion can either
attack the claim of [subject matter] jurisdiction on its face
or it can attack the factual basis for [subject matter]
jurisdiction ....” DLX, lnc. v. Kentuckv, 381 F.3d Bll, 516 (6th
Cir. 2004).

ln the instant case, the Court finds that Defendant
Headwaters attacks the factual basis for jurisdiction - in
particular, whether the relevant facts support Defendant's

contention that Plaintiffs have not suffered an injury»in-fact so

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as to have standing to bring their claims. When a Rule lZ(b)(l)
motion attacks the factual basis for subject matter jurisdiction,
“the trial court must weigh the evidence and the plaintiff bears

the burden of proving that jurisdiction exists.” DLX, 381 F.3d at

 

516 (citing, inter alia, RMI Titanium Co. v. Westinghouse Elec.
Qgrpé, 78 F.Bd ll25, 1133-35 (6th Cir. 1996)). In reviewing a
Rule lZ{b)(l) motion challenging the factual basis for
jurisdiction, “a trial court has wide discretion to allow
affidavits, documents and even a limited evidentiary hearing to
resolve disputed jurisdictional facts.” Ohio Nat'l. Life Ins.
Co. v. United States, 922 F.2d 320, 325 (Gth Cir. 1990). If a
court determines that it lacks subject matter jurisdiction, “the
court shall dismiss the action.” Fed. R. Civ. P. lZ(h)(3).

ln the instant case, both parties have attached exhibits to
their submissions. The Court, utilizing its discretion to allow
the presentation of such materials, has reviewed those materials
submitted by the parties in support of their respective
contentions. The Court finds that neither the submission of
additional materials, a limited evidentiary hearing nor oral
argument would aid the Court in the resolution of Defendant's
motion.

III. ANALYSIS

Defendant contends that Plaintiffs lack standing to bring
this suit because they have failed to establish that they have a

legally protected interest in the ‘629 patent. Plaintiffs

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contend that Defendant’s argument goes to the merits of their
claim, rather than their standing to bring suit.

In order for a federal court to exercise jurisdiction over a
matter, the party seeking relief must have standing to sue.
Kardules v. City of Columbus, 95 F.3d l335, 1346 (6th Cir. l996).
As a constitutional requirement to establish standing, Plaintiffs
must show that: (l) they have suffered an injury-in-fact; (2)
there is a causal connection between the injury and the conduct
of the defendants; and (3) the injury is capable of redress by a
favorable decision. Lujan v. Defenders of Wildlife, 504 U.S. 555,
560-61 (1992). An injury-in-fact is “an invasion of a legally
protected interest which is (a) concrete and particularized
and (b) actual or imminent, not conjectural or hypothetical."
Lgian, 504 U.S. at 560 (citations and internal quotation marks
omitted).

The only standing requirement that Defendant contends is
lacking in this case is a “legally protected interest” on the
part of Plaintiffs. (See Def. Headwaters’ Mem. of Pts. And Auth.
in Supp. of its Mot. to Dismiss for Lack of Subj. Matter Jur. at
4.) In particular, Defendant contends that Plaintiffs have no
legally protected interest in the ‘629 patent because the patent
was never an asset of the Adtech Corporation of which Plaintiffs
were shareholders and because Plaintiffs can establish no other
personal interest in the patent either as individualsr a

partnership, or an unincorporated association.

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Plaintiffs assert, however, that they have a legally
protected interest as the purported beneficiaries of a
constructive trust regarding the ‘629 patent. In fact, the Court
has found that Plaintiffs have established the existence of
genuine issues of material fact preventing summary judgment
regarding their claim for the imposition of a constructive trust.
(See Jan. 13, 2004, Order.) Although Plaintiffs bear the burden
of proving their entitlement to the imposition of a constructive
trust at trial,3 jurisdiction is not defeated “by the possibility
that the averments might fail to state a cause of action on which
petitioners could actually recover.” Steel Co. v. Citizens for a
Better Env., 523 U.S. 83, 89 (l998)(quoting §§ll_y;_§pgd, 327
U.S. 678, 682 (1946)). Rather, “the absence of a valid ... cause
of action does not implicate subject-matter jurisdiction,

i.e. the courts' statutory or constitutional power to adjudicate

the case ....” Id.; see also Dilaura v. Ann Arbor Charter

 

3 Under Tennessee law, a Court may create a constructive
trust under four circumstances:

l)[when] a person procures the legal title to [a]
property in violation of some duty, express or implied,
to the true owner; or

2) where the title to property is obtained by fraud,
duress or other inequitable means; or

3) where a person makes use of some relation of
influence or confidence to obtain the legal title upon
more advantageous terms than could otherwise have been
obtained; or

4) where a person acquires property with notice that
another is entitled to its benefits.

Tanner v. Tanner, 698 S.W.2d 342, 346 (Tenn. 1985).

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Township., No. 00-1846, 30 Fed. Appx. 501, 506 (6th Cir. Feb. 25,
2002)(finding “injury in fact” to be “a standard meant to weed
out those who have no interest in the action, not to deny a day
in court to those who have weak cases.”)

Defendant's contentions regarding standing are more properly
addressed to the merits of Plaintiffs’ claim for the imposition
of a constructive trust. Accordingly, the Court finds that
Plaintiffs have established that they suffered an injury-in-fact
sufficient to provide standing to sue. Defendant’s motion to
dismiss for lack of subject matter jurisdiction therefore DENIED.

IV. CONCLUSION

For the reasons stated, Defendant’s motion is DENIED.

SO ORDERED this C? day of August, 2005.

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J N P. MCCALLA
U ITED STATES DISTRICT JUDGE

   
 

 

 

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This notice confirms a copy of the document docketed as number 373 in
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